                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANGELINA KHARCHENKO,                                  :       CIVIL ACTION
         Plaintiff,                                   :
                                                      :
v.                                                    :       No.: 22-cv-1421
                                                      :
WT RAND TRANSPORT, LLC,                               :
Defendant.                                            :

                                            ORDER

       AND NOW, this         25th     day of September, 2023, upon consideration of Fellerman &

Ciarimboli Law, P.C.s (F & C) unopposed Motion for Leave to Intervene for Limited Purpose of

Asserting Charging Lien Against Proceeds of Settlement or Judgment in Favor of Plaintiff (ECF

No. 28), IT IS HEREBY ORDERED that the Motion is GRANTED. 1


                                                      BY THE COURT:


                                                       /s/ Lynne A. Sitarski
                                                      LYNNE A. SITARSKI
                                                      United States Magistrate Judge




       1
          Pursuant to Federal Rule of Civil Procedure 24(a), a motion to intervene must be
granted as of right if the proposed intervenor “claims an interest relating to the property or
transaction that is the subject of the action, and is so situated that disposing of the action may as
a practical matter impair or impede the movant’s ability to protect its interest, unless existing
parties adequately represent that interest.” Fed. R. Civ. P. 24(a). Here, F & C explains that
pursuant to a Contingent Fee Agreement with Plaintiff, its former client, it is entitled to a
percentage of the last good faith settlement offer made by Defendants, as well as costs and
expenses advanced on her behalf in the litigation, and that such an offer has been made. (Mot.
to Intervene, ECF No. 28, at ¶¶ 3-5). Moreover, because F & C no longer represents Plaintiff,
who has new counsel, its interests are no longer represented in the matter, and any payment of
funds to Plaintiff without consideration of F & C’s interests could negatively impact its ability to
recover funds owed to it. Accordingly, the Court grants F & C’s motion and permits it to
intervene for the limited purpose of asserting a charging lien at the appropriate time.
